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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

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IN RE: NATIONAL PRESCRIPTION                                  :   MDL No. 2804
OPIATE LITIGATION                                             :
                                                              :   Case No. 1:17-md-02804
                                                              :
                                                              :   Hon. Dan Aaron Polster
APPLIES TO ALL CASES                                          :
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                                            ORDER OF COURT

        WHEREAS, Defendants CVS Rx Services, Inc., and CVS Indiana, L.L.C. (together, the

“CVS Distributors”) have designated as privileged certain communications and documents

related to activities conducted by Analysis Group, Inc. (“AGI”) (the “AGI Documents”);

        WHEREAS, the Plaintiffs Executive Committee (“PEC”) has challenged the CVS

Distributors’ privilege designations over the AGI Documents;

        WHEREAS, the PEC and the CVS Distributors have agreed to resolve the PEC’s

privilege challenges to the AGI Documents; and

        WHEREAS, the PEC and the CVS Distributors seek to memorialize their agreement, to

have the Court accept the agreement, and to have the Court adopt it as an Order of the Court in

order to avoid any misunderstanding, to protect the CVS Distributors and their affiliates against

any future privilege challenges in this or any other litigation to the AGI Documents that are

privileged in whole or in part under this Order, and to protect the PEC against any future claim in

this or any other litigation regarding whether any other party’s or non-party’s documents

involving a third party are privileged.




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       NOW THEREFORE, in consideration of the foregoing, the Court hereby ORDERS as

follows:

       1.       The CVS Distributors shall withdraw their claims of privilege over AGI

Documents identified in Exhibit A.       The CVS Distributors shall produce these documents

without any privilege redactions.

       2.       The CVS Distributors shall partially withdraw their claims of privilege over the

AGI Documents identified in Exhibit B. The CVS Distributors shall produce these documents

with privilege redactions. The PEC shall withdraw its challenges to the privilege redactions in

these documents.

       3.       The PEC shall withdraw its privilege challenges to the AGI Documents identified

in Exhibit C. The CVS Distributors will continue to withhold these documents as privileged.

       4.       The PEC shall withdraw its challenges to the privilege redactions in the AGI

Documents identified in Exhibit D.         The CVS Distributors will maintain their privilege

redactions to these documents.

       5.       The CVS Distributors’ withdrawal of their claims of privilege with respect to any

AGI Documents addressed in this Order shall not constitute, nor shall it result in, a waiver of the

CVS Distributors’ (or any of their affiliates’) right to assert, designate, or maintain as privileged

any other communications or documents in this or any other litigation.

       6.       The PEC’s withdrawal of its privilege challenges with respect to any AGI

Documents addressed in this Order shall not constitute, nor shall it result in, a waiver of the

PEC’s right to bring or maintain a challenge to any other party’s or non-party’s privilege

designations over any communications or documents involving a third-party, including a third-

party vendor.



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       7.     This Order is limited to the AGI Documents, shall not apply to any other

communications or documents, and shall have no precedential effect. It shall not be used or

relied upon by the PEC, the CVS Distributors, or any other party or non-party to assert that any

other communications or documents are privileged or are not privileged.

                                            SO ORDERED,




                                            Dan Aaron Polster
                                            United States District Judge




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